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                                                                                                    DISTRICT OF NEVADA
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                                                          15    Aladdin’s Eatery Systems, Inc., an Ohio         Case No. 2:18-cv-00412 APG-GWF
                                                                corporation,
                                                          16
                                                                                   Plaintiff,
                                                          17    v.                                              STIPULATION AND [PROPOSED]
                                                                                                                ORDER TO DISMISS WITH
                                                          18
                                                                PHWLV, LLC a Nevada limited liability           PREJUDICE
                                                          19    company; and OPBIZ, LLC, Nevada
                                                                limited liability company,
                                                          20
                                                                                   Defendants.
                                                          21

                                                          22

                                                          23           Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), LR IA 6-2, and LR 7-1,

                                                          24   Plaintiff Aladdin’s Eatery Systems, Inc. (“Plaintiff”) and Defendant PHWLV, LLC (“PHWLV”),

                                                          25   by and through their respective counsel, being the only parties who have made an appearance in

                                                          26   this action and having reached an agreement to resolve all outstanding issues between them,

                                                          27   hereby stipulate to DISMISS all claims asserted against PHWLV in the above-captioned matter

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                                                           1   WITH PREJUDICE. The parties stipulate and agree that each party shall bear its own respective
                                                           2   attorneys’ fees, costs and expenses in connection with and related to the above-captioned matter.
                                                           3   Dated: November 4th , 2020                   Dated: November 4th , 2020
                                                           4
                                                               By: /s/ Christopher R. Miltenberger          By: /s/ Edward T. Saadi
                                                           5
                                                               _ Christopher R. Miltenberger                _ Edward T. Saadi, Esq.
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                                                          15                                                    IT IS SO ORDERED:

                                                          16
                                                                                                                ______________________________________
                                                          17                                                    ANDREW P. GORDON
                                                                                                                UNITED STATES DISTRICT JUDGE
                                                          18

                                                          19                                                            November 5, 2020
                                                                                                                DATED: ____________________

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